     Case 17-60910-lrc                         Doc 8         Filed 06/24/17 Entered 06/25/17 01:25:41                               Desc Imaged
                                                            Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1                   Sebrenia Elizabeth Freeman                                                  Social Security number or ITIN   xxx−xx−1624

                           First Name     Middle Name       Last Name                                  EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                                               Social Security number or ITIN _ _ _ _
(Spouse, if filing)        First Name     Middle Name       Last Name
                                                                                                       EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia                                            Date case filed for chapter 13 6/21/17
Court website: www.ganb.uscourts.gov

Case number:          17−60910−lrc



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                     12/15


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has been
entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
collect debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish
wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by
mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain
circumstances, the stay may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. § 1328(f)
must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have their debt
excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov). Copy fees or access charges may apply. A free automated response system
is available at 866−222−8029 (Georgia Northern). You must have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document filed
with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a
Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with the
court.

                                                        About Debtor 1:                                           About Debtor 2:
1. Debtor's full name                                   Sebrenia Elizabeth Freeman

2. All other names used in the                          aka Sebrenia F Mercer
   last 8 years
3. Address                                              3625 Sulene Drive
                                                        College Park, GA 30349

4. Debtor's attorney                                    Howard P. Slomka                                       Contact phone 678−732−0001
                                                        Slipakoff & Slomka, PC
                                                        Suite 200
     Name and address                                   1069 Spring Street, NW                                 Email: shawn@slomkalawfirm.com
                                                        Atlanta, GA 30309

5. Bankruptcy trustee                                   Adam M. Goodman                                          Contact phone 678−510−1444
                                                        Adam M. Goodman, 13 Trustee                              www.13trusteeatlanta.com
                                                        Suite 200
     Name and address                                   260 Peachtree Street
                                                        Atlanta, GA 30303

6. Bankruptcy clerk's office                            M. Regina Thomas                                          Office Hours: 8:00 a.m. − 4:00 p.m.
                                                        Clerk of Court
                                                                                                                  Court website: www.ganb.uscourts.gov
     Documents in this case may be filed                1340 United States Courthouse
     at this address. You may inspect all               75 Ted Turner Drive SW                                    Contact phone 404−215−1000
     records filed in this case at this                 Atlanta, GA 30303
     office or online at www.pacer.gov.
                                                                                                                         For more information, see page 2




Official Form 309I (For Individuals or Joint Debtors)           Notice of Chapter 13 Bankruptcy Case                                            page 1
    Case 17-60910-lrc                          Doc 8           Filed 06/24/17 Entered 06/25/17 01:25:41                                        Desc Imaged
                                                              Certificate of Notice Page 2 of 3
Debtor Sebrenia Elizabeth Freeman                                                                                             Case number 17−60910−lrc

7. Meeting of creditors                                 August 2, 2017 at 01:00 PM                                            Location:
                                                                                                                              Third Floor − Room 368, Russell Federal
                                                                                                                              Building, 75 Ted Turner Drive SW, Atlanta, GA
     Debtors must attend the meeting to                 The meeting may be continued or adjourned to a later date. If so, the 30303
     be questioned under oath. In a joint               date will be on the court docket.
     case, both spouses must attend.
     Bring a copy of this notice with                   TO THE DEBTOR: Bring an original government issued photo ID
     you. Creditors may attend, but are                 and confirmation of social security number. Provide the Trustee a
     not required to do so. Cellular                    copy of your most recently filed tax return seven days prior to the
     phones and other devices with                      meeting, but DO NOT FILE WITH THE COURT.
     cameras are not allowed in the
     building.
                                                        TO OTHER PARTIES: Objections to confirmation shall be filed
                                                        seven days prior to the meeting. Objections arising from the
                                                        meeting must be filed within seven days of the meeting.
8. Deadlines                                            Deadline to file a complaint to challenge                                 Filing deadline: 10/2/17
                                                        dischargeability of certain debts: You must file:
     The bankruptcy clerk's office must                 •   a motion if you assert that the debtors are
     receive these documents and any                        not entitled to receive a discharge under
     required filing fee by the following                   U.S.C. § 1328(f) or
     deadlines.                                         •   a complaint if you want to have a particular
                                                            debt excepted from discharge under
                                                            11 U.S.C. § 523(a)(2) or (4).
                                                        Deadline for all creditors to file a proof of claim                       Filing deadline: 10/31/17
                                                        (except governmental units):
                                                        Deadline for governmental units to file a proof of                        Filing deadline: 12/18/17
                                                        claim:


                                                        Deadlines for filing proof of claim:
                                                         A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                                         www.uscourts.gov or any bankruptcy clerk's office.

                                                        To file a claim electronically, visit www.ganb.uscourts.gov and access the ePOC tab.
                                                        If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                                        proof of claim even if your claim is listed in the schedules that the debtor filed.
                                                        Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                                        claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                                        example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                                        right to a jury trial.


                                                        Deadline to object to exemptions:                                          Filing deadline:    30 days after the
                                                        The law permits debtors to keep certain property as exempt. If you                             conclusion of the
                                                        believe that the law does not authorize an exemption claimed, you                              meeting of creditors
                                                        may file an objection.

9. Filing of Plan, Hearing on                           The plan, if not included with this notice, will be mailed when filed.
    Confirmation of Plan,                               The hearing on confirmation will be held: Date: 9/7/17,       Time: 09:30 AM,       Location: Courtroom 1204,
    Allowance and Approval of                           Russell Federal Building, 75 Ted Turner Drive SW, Atlanta, GA 30303
    Debtor's Counsel Attorneys
    Fees
10. Creditors with a foreign                            If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to extend
    address                                             the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                                        questions about your rights in this case.
11. Filing a chapter 13                                 Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts according
    bankruptcy case                                     to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the plan and appear
                                                        at the confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you later, and if the
                                                        confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The debtor
                                                        will remain in possession of the property and may continue to operate the business, if any, unless the court orders
                                                        otherwise.
12. Exempt property                                     The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed to
                                                        creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt. You
                                                        may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does
                                                        not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                                  Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                                        However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan are
                                                        made. A discharge means that creditors may never try to collect the debt from the debtors personally except as
                                                        provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. § 523(a)(2) or
                                                        (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe
                                                        that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you must file a
                                                        motion.




Official Form 309I (For Individuals or Joint Debtors)             Notice of Chapter 13 Bankruptcy Case                                                     page 2
         Case 17-60910-lrc            Doc 8      Filed 06/24/17 Entered 06/25/17 01:25:41                         Desc Imaged
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                                               United States Bankruptcy Court
                                               Northern District of Georgia
In re:                                                                                                     Case No. 17-60910-lrc
Sebrenia Elizabeth Freeman                                                                                 Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113E-9                  User: ggd                          Page 1 of 1                          Date Rcvd: Jun 22, 2017
                                      Form ID: 309i                      Total Noticed: 12


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 24, 2017.
db             +Sebrenia Elizabeth Freeman,    3625 Sulene Drive,    College Park, GA 30349-2615
20806180       +Scana Energy Marketing,    3344 Peachtree Rd Ne Ste,    Atlanta, GA 30326-4808
20806182       +TitleMax of Georgia,    6639 Tara Blvd,   Jonesboro, GA 30236-1229
20806183       +Us Dept Of Ed/glelsi,    Po Box 7860,   Madison, WI 53707-7860

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: shawn@slomkalawfirm.com Jun 23 2017 01:59:40      Howard P. Slomka,
                 Slipakoff & Slomka, PC,   Suite 200,    1069 Spring Street, NW,    Atlanta, GA 30309
tr             +E-mail/Text: bnc@13trusteeatlanta.com Jun 23 2017 01:59:46       Adam M. Goodman,
                 Adam M. Goodman, 13 Trustee,    Suite 200,   260 Peachtree Street,    Atlanta, GA 30303-1236
20806176        EDI: CAPITALONE.COM Jun 23 2017 01:33:00      Capital One,   15000 Capital One Dr,
                 Richmond, VA 23238
20806177        EDI: GADEPTOFREV.COM Jun 23 2017 01:33:00      Georgia Department of Revenue,     PO Box 740321,
                 Atlanta, GA 30374
20806178        EDI: IRS.COM Jun 23 2017 01:33:00      IRS,   401 W Peachtree Street NW,    Atlanta, GA 30308
20806179       +E-mail/Text: bankruptcy@progfinance.com Jun 23 2017 02:01:25       Progressive Leasing,
                 256 W Data Drive,   Draper, UT 84020-2315
20806181       +E-mail/Text: jduran@skopos.us Jun 23 2017 02:02:23      Skopos Financial Llc,
                 500 E John Carpenter Fwy,    Irving, TX 75062-3969
20807636       +E-mail/Text: usagan.bk@usdoj.gov Jun 23 2017 02:01:01      U. S. Attorney,
                 600 Richard B. Russell Bldg.,    75 Ted Turner Drive, SW,   Atlanta GA 30303-3315
                                                                                              TOTAL: 8

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
20806184*        +Us Dept Of Ed/glelsi,   Po Box 7860,   Madison, WI 53707-7860
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 24, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 22, 2017 at the address(es) listed below:
              Adam M. Goodman   mail@13trusteeatlanta.com,
               cdsummary@13trusteeatlanta.com;cdbackup@13trusteeatlanta.com
              Howard P. Slomka   on behalf of Debtor Sebrenia Elizabeth Freeman shawn@slomkalawfirm.com,
               notices123@gmail.com;jennifer@slomkalawfirm.com;shawn@slomkalawfirm.com;slomkalawfirm@gmail.com;c
               ourt@myatllaw.com;myecfcalendar@gmail.com
                                                                                            TOTAL: 2
